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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

   In Re:

   DISPOSABLE CONTACT LENS
   ANTITRUST LITIGATION                     Case No. 3:15-md-2626-HES-JRK

                                              Judge Harvey E. Schlesinger
                                              Mag. Judge James R. Klindt
   THIS DOCUMENT RELATES TO:

   All Class Actions




     DEFENDANT COOPERVISION, INC.’S RESPONSE TO CLASS PLAINTIFFS’
       MOTION TO COMPEL COOPERVISION TO INCLUDE ADDITIONAL
                 CUSTODIANS AND PROVIDE A HIT LIST




              ORAL ARGUMENT REQUESTED PER LOCAL RULE 3.01(j)
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    I.       INTRODUCTION

             Plaintiffs’ motion seeks to compel CooperVision, Inc. (“CVI”) to increase the number

    of custodial files searched by 150% (from 12 custodians to 30) and to produce a “hit list”

    even though CVI has already agreed on the 70 search terms that will be utilized to search for

    responsive electronic documents. Plaintiffs’ motion is predicated on unreliable assumptions,

    misapprehensions regarding the meet-and-confers between the parties, and a fundamental

    misunderstanding of the documents produced by CVI and the law. Plaintiffs’ motion is

    properly denied in its entirety.

             First, Plaintiffs’ argument that CVI provided only generalized objections and did not

    establish the incremental burden of adding 18 custodians to the 12 agreed custodians is

    incorrect. CVI provided testimony regarding the cost of the NYAG review (over $700,000

    for a review of documents from the files of 9 custodians). Searching the files of an additional

    18 custodians (especially when utilizing 70 search terms) can be expected to add over $1.5

    million in incremental cost.

             Second, Plaintiffs continue to rely on cases that predate the “proportionality”

    amendments to Rule 26 and, in any event, do not establish that adding an additional 18

    custodians is in any way proportional. Plaintiffs emphasize that defendant Johnson &

    Johnson Vision Care (“JJVC”) agreed to search the files of 19 custodians and that CVI

    should therefore be compelled to search additional custodial files. But that argument ignores

    the fact that CVI is differently situated than JJVC. As Plaintiffs’ Complaint alleges, JJVC is

    much larger than CVI and, even more importantly, JJVC chose to apply a UPP across its

    many product lines.1 By contrast, CVI used a UPP with only 3 of its 28 product lines. As a


    1
        Consolidated Corrected Class Action Complaint (“Complaint”) ¶¶ 73, 99-101.


                                                    1
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    result, it is natural and to be expected that CVI would need to search fewer custodial files

    than JJVC.

           The proportionality amendments to Rule 26 grew out of the proliferation of electronic

    documents and the potentially crushing costs of reviewing and producing documents from

    the files of dozens of custodians. Proportionality must therefore be evaluated based on a

    “careful and realistic assessment of actual need.”2 Here, Plaintiffs have not met their burden

    of showing that the additional custodians are necessary. To the contrary, the documents that

    Plaintiffs purport to summarize only highlight the fact that CVI chose its custodians well, and

    that the custodians Plaintiffs seek to add likely do not possess unique documents. For

    instance, Plaintiffs argue that CVI should add Mike McCleary as a custodian by claiming that

    a document produced by CVI establishes that




                                                   Yates Decl., Ex. K. Nearly every other

    document cited by Plaintiffs similarly shows only that CVI’s custodians were well-selected.

    As a result, the collection, review, and production of documents for 18 new custodians will

    result in an expensive undertaking of marginal benefit. This is precisely the type of

    “unnecessary or wasteful discovery” that the 2015 amendments to Rule 26 sought to



    2
      Chief Justice John Roberts, 2015 Year-End Report on the Federal Judiciary 7 (2015)
    (emphasis added).


                                                   2
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    prevent.3

           Third, Plaintiffs contend that the parties are at an “impasse” with respect to all

    identified custodians. But this is not so. Plaintiffs never proposed that either Chris Holloway

    or Bob Weiss (who is not even a CVI employee) should be custodians. Nor did Plaintiffs

    identify any of the eleven regional sales employees whose files they ask the Court to compel

    CVI to search. The first time Plaintiffs proposed adding these individuals to the custodian

    list was in their Motion to Compel. This failure to properly confer about this potential step is

    unfortunate, as it may have at the least led to additional fruitful discussion. Moreover,

    Plaintiffs ignore the fact that CVI’s counsel proposed that the parties reach an overall

    agreement on custodians and search terms. CVI invited Plaintiffs to circulate a final proposal

    on July 15, but Plaintiffs never did so. Declaration of Christopher S. Yates (“Yates Decl.”) ¶

    6.

           Any dispute regarding a “hit list” was mooted by the parties’ agreement as to the 70

    search terms that CVI will use to review and produce electronic documents in this litigation.

    Yates Decl. ¶ 10. Absent any argument by CVI that the search terms are overbroad—and

    there is none at this point, given that the final, agreed-upon search terms comply with the

    Court’s July 25 ruling on the proper scope of discovery—producing a search term hit list

    would serve no purpose. In any event, Plaintiffs have not met their burden of establishing a

    basis to compel CVI to provide one.

           Plaintiffs have simply ignored their “responsibility to consider the proportionality of




    3
      Id.; see also XTO Energy, Inc. v. ATD, LLC, No. CIV 14-1021 JB/SCY, 2016 WL 1730171,
    at *17 (D.N.M. Apr. 1, 2016) (noting the proportionality standard is intended “to address the
    ‘explosion’ of information that ‘has been exacerbated by the advent of e-discovery’”).


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    all discovery and consider it in resolving discovery disputes,”4 even in light of the Court’s

    Order of July 25, which emphasized, and is predicated on, “the new dictates of Rule 26.”5

    Plaintiffs’ frequent (and often inaccurate) references to CVI’s purportedly “unlimited

    resources to devote toward this litigation,” Mot. at 20, suggest that discovery is being

    misused “to wage a war of attrition.”6 The proportionality requirements are meant “to

    encourage judges to be more aggressive in identifying and discouraging discovery overuse.”7

    Because Plaintiffs’ insistence on expensive, unnecessary, and overbroad discovery is not

    proportional or measured, CVI respectfully submits that the motion is to be denied.

    II.    FACTS

           A.      CVI implemented a UPP on a very limited basis (on 3 out of 28 lines of
                   contact lenses) and only on newly launched products

           CVI was the last of the Manufacturer Defendants to sell a contact-lens product

    subject to a UPP, in September 2014. Compl. ¶ 104. Out of the 28 contact-lens products that

    CVI sells in the U.S., only three—clariti®, MyDay®, and Biofinity® XR toric—are subject

    to a UPP. Moreover, CVI has never sold these products without a UPP. MyDay® and

    Biofinity® XR toric were new, innovative products that were launched subject to a UPP, and

    clariti® was a product that CVI acquired when it purchased a company called Sauflon and

    that Sauflon had always sold subject to a UPP.

           B.      CVI produced documents for 9 custodians in connection with an NYAG
                   investigation, which has not resulted in any charges against, or interviews
                   of, CVI


    4
      Fed. R. Civ. P. 26 advisory committee’s note 2015 amendment.
    5
      ECF No. 264 at 3.
    6
      6 James Wm. Moore et al., Moore’s Federal Practice ¶ 26.60 (3d ed. 1997) (noting that a
    court “must” apply the proportionality standard to prevent use of discovery “to wage a war of
    attrition or as a device to coerce a party”).
    7
      Fed. R. Civ. P. 26 advisory committee’s note 2015 amendment.


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           The New York Attorney General (“NYAG”) issued a subpoena to CVI in 2015 in

    connection with its investigation of the sale of contact lenses subject to a UPP—in other

    words, the same subject matter at issue in this litigation. The NYAG accepted 9 custodians

    (the same 9 individuals that CVI originally offered as custodians in this action), which

    included the President of CVI, the current and former President of North America, the EVP

    of Global Sales and Marketing, among other high-ranking officials. Declaration of Clay

    Arnold (“Arnold Decl.”) ¶ 3. In response, CVI produced to the NYAG 20,724 documents

    (124,666 pages) for these 9 custodians, as well as 33.5 GB of transactional data. CVI

    produced to Plaintiffs all of the documents and data it produced to NYAG on May 5, 2016,

    the same day it responded to Plaintiffs’ First Set of Requests for Documents. Yates Decl. ¶

    2. The NYAG has not requested any interviews of, or filed any charges or claims against,

    CVI for any antitrust violation. CVI spent over $700,000 to collect, review, and produce

    documents for 9 custodians for the NYAG investigation. Arnold Decl. ¶ 2.

           C.      Recognizing “the new dictates of Rule 26,” the Court limited the scope of
                   discovery in this litigation in its Order of July 25, 2016

           Since discovery opened, the parties have participated in several teleconferences and

    exchanged multiple letters and emails regarding search terms and custodians. Initially, the

    parties’ disputes as to search terms and custodians were based on a disagreement as to the

    proper scope of discovery. This disagreement was resolved by the Court’s Order of July 25,

    in which the Court relied on “the new dictates of Rule 26” to limit non-transactional

    discovery to post-2013 documents that relate to UPP products. ECF No. 264.

           D.      The parties reached an agreement as to all 70 search terms that CVI will
                   use to produce documents in this litigation on August 10, 2016

           CVI originally proposed 16 search terms, but Plaintiffs dramatically expanded the list

    to 70 terms and also proposed modifications to significantly broaden the original 16 terms.


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     Yates Decl. ¶ 3. Prior to the Court’s July 25 Order, the parties disagreed as to the proper

     breadth of the search terms; following the Court’s July 25 Order, CVI asked Plaintiffs to

     narrow their proposed search terms to comply with the Court’s ruling so that the parties

     could proceed with their negotiations. Id. ¶ 7. Plaintiffs failed to propose revisions even

     though they indicated during the July 27 teleconference with the Court that they would do so.

     Id. ¶ 8. To move the negotiations forward, on August 5, CVI proposed revised search terms

     that comply with the Court’s July 25 Order, and the parties reached an agreement as to all 70

     terms on August 10. Id. ¶ 9. Thus, no dispute remains with respect to search terms.

            E.      Plaintiffs did not engage on CVI’s proposal to reach a holistic agreement
                    as to custodians

            CVI originally offered to Plaintiffs the 9 custodians that the NYAG accepted as

     sufficient for its investigation. These 9 custodians cover a wide array of positions and job

     duties within CVI. Over time, Plaintiffs requested a total of 8 additional custodians plus an

     undefined number of unnamed regional sales managers. Id. ¶ 3. Plaintiffs never mentioned

     Chris Holloway or Bob Weiss in any of their letters to, or calls with, CVI; nor did Plaintiffs

     ever identify the names of any regional sales employees so that CVI could consider them. Id.

     ¶ 4. In an effort to reach a compromise and avoid unnecessary disputes, on July 5, CVI

     agreed to add 3 out of the 8 additional custodians Plaintiffs identified by name (for a total of

     12 agreed custodians). Id. ¶ 5.

            On July 15, the parties had a telephonic meet-and-confer during which Plaintiffs

     proposed adding 4 regional sales managers (who Plaintiffs never identified by name) as a

     “compromise” to resolve the dispute as to their original request to add an unlimited number

     of regional sales managers. Id. ¶ 6. CVI responded that its acceptance of this proposal

     would depend on the parties’ ability to reach an agreement for all custodians (including the



                                                     6
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     remaining 5 custodians who are not regional sales managers as to whom the parties had not

     yet reached an agreement). CVI requested that Plaintiffs propose an overall list of custodians

     that was proportional and reasonable, which could include regional sales managers.

     Plaintiffs never proposed the overall list of custodians that CVI requested, or responded to

     this effort to reach a global resolution of these issues. Id. ¶ 6.

             F.      CVI’s capacity to respond to discovery requests is limited, and the cost of
                     collecting, reviewing, and producing documents for the 18 custodians
                     Plaintiffs seek to add would be burdensome for CVI

             CVI has a very small legal department and must rely on outside vendors and law

     firms to respond to discovery requests in litigation matters. For that reason, overbroad

     discovery requests are burdensome and taxing on CVI’s resources (financially and

     otherwise). Arnold Decl. ¶ 4. Based on the cost of the collection, review, and production of

     documents for the NYAG investigation (which covered the documents of 9 custodians for a

     2.5 year period), CVI expects that the costs it will incur in collecting, reviewing, and

     producing documents for 18 additional custodians using 70 search terms will be at least $1.5

     million. Id. ¶ 6.

             G.      CVI was not a party to, or otherwise involved in, In re Disposable Contact
                     Lens Antitrust Litig., MDL No. 1030 (M.D. Fla.)

             In their motion, Plaintiffs make several references to In re Disposable Contact Lens

     Antitrust Litig, MDL 1030 (M.D. Fla) and claim that “[t]his case alleges a horizontal and

     vertical price-fixing scheme involving parties who have been caught in such a conspiracy

     once before.” See, e.g., Mot. at 19-20. That argument is badly misplaced, particularly as to

     CVI. First, CVI was not a party to MDL 1030. Second, Plaintiffs’ own Complaint disclaims

     any allegations of price-fixing. See Compl. ¶ 3 (“To be clear, Plaintiffs are not alleging that

     the Manufacturer Defendants, working with ABB, conspired to fix the prices of their



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     respective contact lenses at the same level.”).

     III.   PLAINTIFFS’ REQUEST FOR 18 ADDITIONAL CUSTODIANS (FOR A
            TOTAL OF 30) IS NOT PROPORTIONAL

            A.      The 2015 revisions to Rule 26 narrowed the permissible scope of
                    discovery

            Under revised Rule 26(b), a party may obtain discovery if it is both “relevant to any

     party’s claim or defense and proportional to the needs of the case.”8 The scope of permissible

     discovery under revised Rule 26(b) is much narrower than the pre-2015-amendment standard.

     First, discovery is not permissible unless it is relevant to a party’s claim or defense.9 Second,

     relevant discovery is not permissible unless it is “proportional to the needs of the case” based

     on a variety of factors, including “the importance of the discovery in resolving the issues, and

     whether the burden or expense of the proposed discovery outweighs its likely benefit.”10

            The proportionality requirement is the primary factor that courts consider when

     determining whether a request for discovery is proper. Indeed, “a party seeking discovery of

     relevant, non-privileged information must show, before anything else, that the discovery

     sought is proportional to the needs of the case.”11 All of the cases Plaintiffs rely on to support

     their contention that “Rule 26 ‘sets a remarkably low bar’ for the discovery of relevant

     information” pre-date the implementation of the 2015 proportionality amendments. See Mot.

     at 9. Those cases rely on the now-superseded “reasonably calculated to lead to the discovery

     of admissible evidence” standard, and thus are of little use in resolving the issues at bar, which


     8
       Fed. R. Civ. P. 26(b)(1).
     9
       See Yee v. Cliff Veissman, Inc., No. 14-CV-01531, 2016 WL 950948, at *1 (N.D. Ill. March
     7, 2016) (noting that the 2015 amendments “narrowed the concept of relevance for purposes
     of discovery”).
     10
        Fed. R. Civ. P. 26(b)(1).
     11
        Gilead Scis., Inc. v. Merck & Co., Case No. 5:13-cv-04057-BLF, 2016 WL 146574, at *1
     (N.D. Cal. Jan. 13, 2016).


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     turn on proportionality considerations.

            B.      Plaintiffs are incorrect about the costs and burden of adding new
                    custodians; that burden would be significant for CVI

            Plaintiffs argue that the addition of new custodians would not result in significant

     additional burdens for CVI. Mot. at 21. This contention fails to take into account the

     realities of how electronic discovery works.

            Adding new custodians means starting the collection process all over again, resulting

     in costs and burdens that are in no way diminished by the fact that other collections have

     already been conducted. Custodial documents cannot be evaluated for relevance, size, scope,

     etc., until they are collected and processed.12 This costs real money, requires a significant

     time investment by CVI’s legal department and IT staff, and disrupts custodians’ other job

     duties given that, among other things, custodian interviews must be conducted as part of this

     process. Arnold Decl. ¶ 5. The cost of the collection and review of 18 additional custodians’

     documents is expected to be over $1.5 million. Id. ¶ 6. These factors should be considered

     by the Court when evaluating Plaintiffs’ motion and deciding whether Plaintiffs have

     established that the discovery sought is proportional.

            C.      Plaintiffs have not shown that there is an actual need to add the 7
                    management custodians at issue

            Plaintiffs argue that they “require” the “additional seven upper management

     custodians” to obtain evidence of the implementation and enforcement of CVI’s UPP and

     because these custodians “participated in trade associations and/or working groups that

     discussed or implemented UPPs.” Mot. at 10. But beyond this naked assertion, Plaintiffs


     12
       See, e.g., Federal Judicial Center, Manual for Complex Litigation, Fourth, § 11.423 (4th
     ed. 2004) (“Computerized data, however, are often not accessible by date, author, addressee,
     or subject matter without costly review and indexing.”).


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     make no showing of actual need. Plaintiffs ignore the fact that Bob Weiss is not an

     employee of CVI and that the documents of the other 6 additional custodians are duplicative

     of the documents of the 12 previously agreed-upon custodians, and of the documents that

     Plaintiffs have and will continue to receive from other defendants and third-party trade

     associations and retailers. The documents that Plaintiffs point to in their motion to compel

     serve to emphasize this fact. The examples below highlight the disconnect between

     Plaintiffs’ contentions and the actual documents that have been produced:

        Plaintiffs’ Contention               What the Document Actually Shows
     Mike McCleary - CVI00013381, Yates Decl., Ex. K




     Gary Orsborn - CVI00094968, Yates Decl., Ex. L




     Aldo Zucaro - CVI00105254, Yates Decl., Ex. M




                                                   10
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        Plaintiffs’ Contention              What the Document Actually Shows




     Chris Holloway - CVI00107501, Yates Decl., Ex. N




     Andrew Sedgwick - CVI00023313, Yates Decl., Ex. O




     Roger Kennedy - CVI00093710, Yates Decl., Ex. P




            Plaintiffs’ motion assumes that it is enough to show that a proposed custodian

     received an email that mentions UPP. That is not the law. The Court’s determination as to

     whether additional custodians are necessary must be driven by considerations of


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     proportionality.13 In the context of e-discovery, where large-scale duplication of e-

     documents is inevitable, the “proportionality requirement” can be satisfied by limiting e-

     discovery to “key” custodians.14 This is because “[p]roportionality principles presume that

     all relevant information is not equally important.”15 Here, CVI has already agreed to produce

     the documents of the key CVI decision-makers with respect to its decision to use a UPP on 3

     of its 28 products. These documents are more than sufficient for Plaintiffs to study UPP

     implementation and enforcement at CVI.

            Additionally, Plaintiffs will be able to examine CVI’s participation in trade

     associations based on CVI’s existing productions, and through the productions of the Contact

     Lens Institute (“CLI”) and the American Optometric Association (“AOA”). The documents

     that Plaintiffs point to in their motion confirm this.16 In their motion, Plaintiffs suggest that

     the manufacturer defendants used CLI’s Statistical Task Force and the reports that Veris

     Consulting produced to collude on pricing. Mot. at 12.17 This is directly contradicted by the


     13
        Gilead, 2016 WL 146574, at *1; Federal Judicial Center, Judicial Benchbook for U.S.
     District Judges 195 (6th ed. 2013) (“Remember that parties are not entitled to all discovery
     that is relevant to the claims and defenses. The judge has a duty to ensure that discovery is
     proportional to the needs of the case.”).
     14
        See, e.g., Federal Judicial Center, Managing Electronic Discovery of Electronic
     Information: A Pocket Guide for Judges 15 (2d ed. 2012) (“To ensure that the proportionality
     requirement is met, a judge may need to review the parties’ proposed production requests.
     The judge should encourage the lawyers to stage the discovery by first searching for the ESI
     associated with the most critical or key players[.]”)
     15
        Hon. Craig B. Shaffer, The “Burdens” of Applying Proportionality, The Sedona
     Conference Journal, Vol. 16, Fall 2015, at 117.
     16




     Yates Decl., Ex. Q, T, U, V.
     17
        Veris Consulting, Inc. is an independent forensic accounting consultant that compiles
     manufacturer sales data and provides it in aggregated fashion which maintains “the
     confidentiality of each participant’s individual data.” CLI Committees, Contact Lens


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     thousands of pages of documents that CLI has produced to date,



                      18
                           Similarly, any suggestion of collusion between CVI and AOA is refuted

     by one of the documents that Plaintiffs themselves point to in their motion,

                                                                                                   See

     CVI00117166, Yates Decl., Ex. Q



            In situations like this, where the marginal benefit to be gained from the new

     custodians’ documents is outweighed by the burden of searching for and collecting them,

     courts routinely deny requests for additional custodians.19

            D.      Plaintiffs have not shown that there is an actual need to add the 11
                    regional sales managers at issue

            Plaintiffs request to add 11 regional sales managers on the ground that the files of

     these custodians are “likely to reveal important communications between the Manufacturer

     Defendants and ECPs.” Mot. at 14.

            First, Plaintiffs overstate the import of the regional managers’ communications with

     ECPs to their claims. The Supreme Court has recognized that manufacturers are entitled to

     meet with customers and consider their concerns, and that a conspiracy cannot be inferred

     Institute, http://contactlensinstitute.org/initiatives/#3. This sort of information exchange is
     entirely within the “antitrust safety zone” set out in the Department of Justice and Federal
     Trade Commission’s Statements of Antitrust Enforcement Policy in Healthcare.
     18
        See Yates Decl., Ex. W


       See, e.g., Helmert v. Butterball, LLC, No. 4:08CV00342 JLH, 2010 WL 2179180, at *6
     (E.D. Ark. May 27, 2010) (denying request to add proposed custodian because “any emails to
     which [the proposed custodian] was a party almost surely would have included [other
     custodians] whose emails will be searched, so a search of [the proposed custodian’s] emails
     would be duplicative”).


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     from such facts.20 Thus, evidence that a manufacturer acts in response to retailer complaints,

     or terminates a discounter in response to a retailer’s request, is not suggestive of a conspiracy

     as a matter of law because this kind of behavior is to be expected.21 Second, Plaintiffs imply

     that they currently do not have access to “discovery regarding communications with ECPs

     regarding the UPPs,” Mot. at 14, but the opposite is true. Indeed,




                      Additionally, CVI agreed to add Michele Andrews as a custodian, whose

     duties include coordinating communications with ECPs, to ensure that Plaintiffs would have

     access to a broad scope of communications with ECPs. Arnold Decl. ¶ 7.

            Once again, the marginal benefit to be gained from these custodians’ documents (the

     pertinent information of which is already contained in the files of the agreed-upon

     custodians) is outweighed by the burden of searching for and collecting the files of 11

     additional people. This is sufficient reason to deny this unnecessary request.

            E.      The determination of how many custodians to include is a fact-specific
                    one that must be made on a case-by-case basis

            Plaintiffs argue that some courts have approved “larger numbers of custodians” in an

     effort to persuade the Court that their request for 30 total custodians here is reasonable. Mot.

     at 10-11. But courts routinely hold that the relevance of each custodian “is inescapably fact


     20
       Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 762, 763-64, 768 (1984).
     21
       See, e.g., Euromodas, Inc. v. Zanella, Ltd., 368 F.3d 11, 19-21 (1st Cir. 2004) (holding no
     agreement may be inferred from evidence that a manufacturer acted in response to
     complaints from a major dealer).


                                                    14
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     specific.”22 That other courts have approved a certain number of custodians in other

     litigation, or that JJVC has agreed to 19 custodians in this action, is irrelevant to whether the

     Court should add any more CVI custodians. Moreover, in light of the differences between

     JJVC and CVI—JJVC is much larger than CVI and applied UPP across its many product

     lines, whereas CVI only used a UPP with 3 of its 28 product lines, Compl. ¶¶ 73, 99-101— it

     is consistent with proportionality that CVI would search fewer custodial files than JJVC.

     IV.     PLAINTIFFS’ REQUEST FOR A SEARCH TERM HIT LIST IS MOOT

             Plaintiffs have not shown an actual need for search term hit lists. Hit lists are

     exchanged in the context of search term negotiations in which the responding party argues

     that the search terms in question are overbroad, or where there are allegations of discovery

     misconduct.23 Here, however, the parties have already reached agreement on the scope of the

     search terms that CVI will use to produce documents in this action.24 Because there is no

     argument of overbreadth by CVI, and both parties have agreed on all 70 search terms, any

     dispute as to whether CVI should produce a hit list is moot.

     V.      CONCLUSION

             CVI respectfully submits that the Court should deny Plaintiffs’ motion to compel in

     its entirety.




     22
        See, e.g., Brown v. W. Corp., No. 8:11CV284, 2013 WL 4456556, at *1 (D. Neb. Aug. 16,
     2013).
     23
        See, e.g., Vasudevan Software, Inc. v. MicroStrategy Inc., 11-cv-06637-RS-PSG, 2012
     U.S. Dist. LEXIS 163654, at *14-17 (N.D. Cal. Nov. 15, 2012) (requiring search term hit list
     where the responding party argued that the search terms were overbroad); Procaps S.A. v.
     Patheon Inc., 12-24356-CIV, 2014 WL 800468, at *2 (S.D. Fla. Feb. 28, 2014) (requiring hit
     list because of allegations of failure to implement litigation hold).
     24
        The two defendants that produced hit lists did so in the course of their negotiations
     regarding the overbreadth of the search terms.


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     Date: August 24, 2016              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE


         I hereby certify that on August 24, 2016, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system, and that counsel for the following parties were

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